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 B6C (Official Form 6C) (4/10)


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   In re         Daniel Leon Watkins,                                                                                 Case No.           12-73375
                 Donna Kay Watkins
                                                                                                          ,
                                                                                       Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                 Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                 $146,450. (Amount subject to adjustment on 4/1/13, and every three years thereafter
    11 U.S.C. §522(b)(2)                                                                                      with respect to cases commenced on or after the date of adjustment.)
    11 U.S.C. §522(b)(3)

                                                                               Specify Law Providing                         Value of                 Current Value of
                   Description of Property                                        Each Exemption                             Claimed                  Property Without
                                                                                                                            Exemption               Deducting Exemption
Cash on Hand
In Pocket                                                                O.C.G.A. § 44-13-100(a)(6)                                     50.00                            50.00
Location: 280 Vista Wood Drive, Marietta GA
30066

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Suntrust Bank                                     O.C.G.A. § 44-13-100(a)(6)                                                        1,387.09                         1,387.09
Checking Acct: 8166
Balance as of: 07/24/2012

Suntrust Bank                                                            O.C.G.A. § 44-13-100(a)(6)                                   605.52                            605.52
Checking Acct: 1442
Balance as of: 07/23/2012

Household Goods and Furnishings
Bed                                                                      O.C.G.A. § 44-13-100(a)(4)                                   650.00                            650.00
4 Dressers
Sofa
2 TVs
2 Stereos
2 DVD Players
Dining room table w/4 chairs
2 Computers
Location: 280 Vista Wood Drive, Marietta GA
30066

Books, Pictures and Other Art Objects; Collectibles
200 Books                                           O.C.G.A. § 44-13-100(a)(6)                                                        475.00                            475.00
75 CDs
100 DVDs
100 Die Casts
Location: 280 Vista Wood Drive, Marietta GA
30066

Wearing Apparel
Husband:                                                                 O.C.G.A. § 44-13-100(a)(4)                                   150.00                            150.00
12 Pairs of Jeans
30 Shirts
5 Pairs of Shoes

Wife:
10 Pairs of Pants
30 Shirts
10 Pairs of Shoes
Location: 280 Vista Wood Drive, Marietta GA
30066

Furs and Jewelry
25 Pieces of Assorted Costume Jewelry                                    O.C.G.A. § 44-13-100(a)(5)                                     50.00                            50.00




    1      continuation sheets attached to Schedule of Property Claimed as Exempt
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                 Case 12-73375-lrc                      Doc 56          Filed 03/26/21 Entered 03/26/21 15:30:36               Desc Main
                                                                        Document      Page 2 of 2
 B6C (Official Form 6C) (4/10) -- Cont.




   In re         Daniel Leon Watkins,                                                                        Case No.      12-73375
                 Donna Kay Watkins
                                                                                                       ,
                                                                                       Debtors
                                            SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                              (Continuation Sheet)

                                                                               Specify Law Providing             Value of            Current Value of
                   Description of Property                                        Each Exemption                 Claimed             Property Without
                                                                                                                Exemption          Deducting Exemption

Firearms and Sports, Photographic and Other Hobby Equipment
2 Cameras                                       O.C.G.A. § 44-13-100(a)(6)                                               500.00                   500.00
3 Sewing Machines
2 Pistols
Location: 280 Vista Wood Drive, Marietta GA
30066

Stock and Interests in Businesses
10 Shares of ING Stock                                                   O.C.G.A. § 44-13-100(a)(6)                       85.25                     85.25
Location: 280 Vista Wood Drive, Marietta GA
30066

Automobiles, Trucks, Trailers, and Other Vehicles
2000 Dodge Caravan                                                       O.C.G.A. § 44-13-100(a)(3)                     3,500.00               3,525.00
No Loan                                                                  O.C.G.A. § 44-13-100(a)(6)                        25.00
Location: 280 Vista Wood Drive, Marietta GA
30066

2001 Ford F-350                                                          O.C.G.A. § 44-13-100(a)(3)                     3,500.00               6,075.00
No Loan                                                                  O.C.G.A. § 44-13-100(a)(6)                     2,575.00
Location: 280 Vista Wood Drive, Marietta GA
30066

Other Exemptions
Possible settlement in American Medical                                  O.C.G.A. § 44-13-100(a)(11)(D)                     0.00             Unknown
System Inc. class action lawsuit; Missouri
Circuit Cout for the City of St. Louis 1422-CC-
09170. No funds received as of March 2021




                                                                                                    Total:          13,552.86                 13,552.86
 Sheet      1     of    1     continuation sheets attached to the Schedule of Property Claimed as Exempt
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